          Case 1:24-cv-04059-DLI-SJB Document 8 Filed 06/07/24 Page 1 of 3 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New   York
                                                                            __________

  LUIS OSWALDO NAJERA LEMACHE, EDGAR                                 )
   RAMIRO NAJERA LEMACHE, and JHONNY                                 )
FERNANDO SALINAS VASQUEZ, individually and on                        )
       behalf of all others similarly situated,
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 24-cv-4059
                                                                     )
    GWT ENTERPRISES INC. and SILVERCUP                               )
  SCAFFOLDING I LLC and ALAIN LIEBERMANN,                            )
ISSAC ADLER, and SAMUEL SOBEL, as individuals,
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                           Roman Avshalumov, Esq.

                                           80-02 Kew Gardens Road, Suite 601

                                           Kew Gardens, NY 11415

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/07/2024
                                                                                          Signature of Clerk or Deputy Clerk
           Case 1:24-cv-04059-DLI-SJB Document 8 Filed 06/07/24 Page 2 of 3 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 24-cv-4059

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
Case 1:24-cv-04059-DLI-SJB Document 8 Filed 06/07/24 Page 3 of 3 PageID #: 27




                                         RIDER TO SUMMONS

                              Civil Case No.: _______________________

                                    FULL COMPLAINT CAPTION:

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------X        Civil Case No.:
  LUIS OSWALDO NAJERA LEMACHE, EDGAR RAMIRO
  NAJERA LEMACHE, and JHONNY FERNANDO
  SALINAS VASQUEZ, individually and on behalf of all others                     COLLECTIVE ACTION
  similarly situated,                                                              COMPLAINT
                                                  Plaintiffs,
                                                                                    JURY TRIAL
              -against-                                                             DEMANDED
  GWT ENTERPRISES INC. and SILVERCUP
  SCAFFOLDING I LLC and ALAIN LIEBERMANN, ISSAC
  ADLER, and SAMUEL SOBEL, as individuals,

                                                  Defendants.
  --------------------------------------------------------------------------X

  Via Secretary of State and Personal Service:
  GWT ENTERPRISES INC. (DOS ID: 5353723)
  177 Concord Street, Brooklyn, NY 11201
  SILVERCUP SCAFFOLDING I LLC (DOS ID: 4868821)
  29 Lorimer St., Brooklyn, NY 11206

  ALAIN LIEBERMANN
  177 Concord Street, Brooklyn, NY 11201
  ISSAC ADLER
  177 Concord Street, Brooklyn, NY 11201
  SAMUEL SOBEL
  177 Concord Street, Brooklyn, NY 11201




                                                        1
